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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LATASHA RENE WEBB
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      )   NO. CR.S-08-082-EJG
                     Plaintiff,         )
12                                      )
          v.                            )
13                                      )   STIPULATION AND ORDER TO CONTINUE
                                        )   STATUS CONFERENCE AND EXCLUDE
14                                      )   TIME
     MARLON MARCUS WILLIAMS and         )
15   LATASHA RENEE WEBB,                )   Date: September 19, 2008
                                            Time: 10:00 a.m.
16                  Defendants.             Judge: Hon. Edward J. Garcia
     _____________________________
17
18        IT IS HEREBY STIPULATED by and between the parties hereto through

19   their respective counsel, MICHAEL BECKWITH, Assistant United States

20   Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant

21   Federal Defender, attorney for defendant, LATASHA RENEE WEBB and TIM

22   WARRINER attorney for defendant MARLON MARCUS WILLIAMS, that the status

23   conference set for August 8, 2008 be continued to September 19, 2008 at

24   10:00 a.m.

25        This continuance is being requested because the defense needs

26   additional time to review the discovery, investigate this case, and

27   discuss the case and the relevant law with the government and the

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 1   defendants.
 2        For this reason, the parties agree that the ends of justice to be
 3   served by a continuance outweigh the best interests of the public and
 4   the defendant in a speedy trial and that time under the Speedy Trial
 5   Act may be excluded from the date of this order through September 19,
 6   2008, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv)(Local Code T4)
 7   [reasonable time to prepare].
 8
                                            Respectfully submitted,
 9                                          DANIEL J. BRODERICK
                                            Federal Defender
10
11
     DATED: August 5, 2008                  /s/ RACHELLE BARBOUR
12                                          RACHELLE BARBOUR
                                            Assistant Federal Defender
13                                          Attorney for Defendant
                                            LATASHA RENEE WEBB
14
15   DATED: August 5, 2008                  /S/ RACHELLE BARBOUR
                                            TIM WARRINER
16                                          Attorney for Defendant
                                            MARLON MARCUS WILLIAMS
17
18                                         McGREGOR SCOTT
                                           United States Attorney
19
20
     DATED: August 5, 2008                 /s/ RACHELLE BARBOUR for
21                                         MICHAEL BECKWITH
                                           Assistant U.S. Attorney
22                                         Attorney for Plaintiff
23
                                       O R D E R
24
          IT IS SO ORDERED.
25
26   DATED: August 5, 2008                  /s/ Edward J. Garcia
                                            EDWARD J. GARCIA
27                                          United States District Judge
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